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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

MARK MARGANSKI,                           :
                                          : DOCKET NO.:
       Plaintiffs,                        :
                                          : CIVIL ACTION
vs.                                       :
                                          : COMPLAINT AND JURY DEMAND
AUTUMN M. MOGAVERO, WILLIAM P.            :
GANLEY, JOHN DOE 1 – 10 (fictitious       :
Name), ABC CORP. 1 – 10 (fictitious Name) :
                                          :
                                          :
       Defendants.
                                          :

               Plaintiff, by and through his attorneys, The Law Offices of Joseph Monaco, P.C.,

by way of Complaint against the Defendants, states as follows:

                                           PARTIES

       1.       Plaintiff MARK MARGANSKI is an adult individual and a citizen of the State

of Connecticut, who presently resides at 167 Mill Street, Naugatuck, Connecticut 06770.

       2.        Defendant AUTUMN M. MOGAVERO, is an adult individual and upon

information and belief is a citizen of the State of New York, with an address of 31 Duncan

Avenue, Cornwall on Hudson, New York.

       3.        Defendant WILLIAM P. GANLEY, is an adult individual and upon information

and belief is a citizen of the State of New York, with an address of 9517 Village Mill Lane,

Clarence Center, New York

                                JURISDICTION AND VENUE

       4.        Plaintiff seeks an amount in controversy in excess of $75,000.00, exclusive

of interest and costs.
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        5.        This Court has jurisdiction over this action pursuant to 28 U.S.C. §1332 because

there is complete diversity of citizenship between the parties, and the amount in controversy

exceeds $75,000.00, exclusive of interest and costs. Plaintiff’s injuries/damages include, inter

alia, C5/6 Anterior cervical discectomy and fusion; placement of intervertebral cages at C5-C6;

placement of pedicle screw rod fixation at C5-C6; with multiple bone grafts.

        6.        Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)(2) as a

substantial part of the events or omissions giving rise to the claim occurred in this judicial

district.

                                           FIRST COUNT

        7.        On or about August 22, 2022, Plaintiff, MARK MARGANSKI, was the operator

of a certain motor vehicle which motor vehicle was traveling on I-78 in the Township of Greenwich,

County of Warren and State of New Jersey.

        8.        On or about August 22, 2022, Defendant, AUTUMN M. MOGAVERO, was the

operator of a certain motor vehicle owned by Defendant, WILLIAM P. GANLEY, which motor

vehicle was being operated as a permissive user of the owner and/or as the agent, servant and/or

employee of the owner and which motor vehicle was also traveling on I-78 in the Township of

Greenwich, County of Warren and State of New Jersey.

        9.        At the time and place of the accident, the vehicle owned and/or operated by the

defendants collided with the rear of the plaintiff’s vehicle with significant force.

        10.       At all times relevant herein, the defendants’ vehicle was operated in a negligent,

reckless and/or careless manner.

        11.       Defendants, AUTUMN M. MOGAVERO and WILLIAM P. GANLEY, did so

negligently and carelessly own, operate and/or maintain the aforesaid motor vehicle so as to cause



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same to collide with the rear of the vehicle of Plaintiff, MARK MARGANSKI.

         12.        That said accident was caused by the negligence, recklessness and/or carelessness

of the defendants without any negligence on the part of the plaintiff.

         13.        As a direct and proximate result of the negligence of Defendants, AUTUMN M.

MOGAVERO and WILLIAM P. GANLEY, as aforesaid, Plaintiff, MARK MARGANSKI, was

caused to sustain and did sustain serious and permanent personal injuries requiring the care and

treatment of physicians, hospitalization and medication and has been and will in the future continue

to be hampered in her daily routine.

         WHEREFORE, Plaintiff, MARK MARGANSKI, demands judgment against

Defendants, AUTUMN M. MOGAVERO and WILLIAM P. GANLEY, jointly, severally or, in the

alternative, in the amount of his damages, together with interest and costs of suit.

         Plaintiff demands a trial by jury on all counts.

Dated:         Oradell, New Jersey
               March 1, 2024

                                                                Respectfully submitted;

                                                                THE LAW OFFICES OF
                                                                JOSEPH MONACO

                                                                By:Joseph D. Monaco III
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